Case 2:16-cv-02233-JCM-EJY Document 121 Filed 01/06/20 Page 1 of 2

HAROLD P. GEWERTER, ESQ.

1 Nevada Bar No, 499

HAROLD P. GEWERTER, ESQ., LTD.
1212 So, Casino Center Blyd,
Las Vegas Nevada 89104

} Telephone: (702) 382-1714

Email: harold@gewerterlaw.com
Attorneys for Plaintiff
Navneet Sharda, M.D.

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEVADA

NAVNEET SHARDA, M.D., an Individual,
Plaintiff,

V8,

SUNRISE HOSPITAL AND MEDICAL
CENTER, LLC, a foreign limited liability

{ company; THE BOARD OF TRUSTEES OF

SUNRISE HOSPITAL; SUSAN
REISINGER, an Individual; DIPAK DESAI,
an individual; NEVADA STATE BOARD
OF MEDICAL EXAMINERS;
KATHERINE KEELEY, an individual;
DOE Individuals } through X; and ROE
CORPORATIONS and ORGANIZATIONS
{ through X, inclusive,

Defendants.

 

 

 

 

Case No. 2:16-cv-02233-JCM-EJY °

SUBSTITUTION OF ATTORNEY

Plaintiff, NAVNEET SHARDA, M.D., hereby substitutes HAROLD P, GEWERTER,

ESQ., of HAROLD P. GEWERTER, ESQ, as attorney of record in place and stead of
PETER M. ANGULO, B8Q., of the law firm of MOUNTAIN VISTA LAW GROUP, LLC.

Dated this (. day of _\) a. f 223.0.

 

 

NAVNEET SHARDA, M.D.

 

 
Case 2:16-cv-02233-JCM-EJY Document 121 Filed 01/06/20 Page 2 of 2

Dated this ‘9. day. of Lp ude

  

Dated thls (, day of Qyuncs Foro.

 

 

  

J am duly admitted to practice in this District,

 

Above substitution accepted, I am retained Counsel,

Libe Werke

HAROLD'P, GEWERTER, ESO, Kf
HAROLD P, GEWERTER, ESQ., LTD,

Approved:

 

United States District Court J ixlge/
United States Magistrate Judge

 

 
